I respectfully dissent as I conclude the trial court did not abuse its discretion in determining that a change of circumstances exists. As the factual determinations here were supported by competent, credible evidence, the trial court's finding that there has been a change of circumstances cannot be reversed absent an abuse of discretion. Motlicev. Motlice (1997), 118 Ohio App.3d 731, 735, citing Blakemore v.Blakemore (1983), 5 Ohio St.3d 217, 218. An abuse of discretion connotes more than an error in law or judgment, it implies that the court's attitude is unreasonable, arbitrary or unconscionable. Blakemore,5 Ohio St.3d at 219; Holcomb v. Holcomb (1989), 44 Ohio St.3d 128, 131. As the Supreme Court has noted:
  An abuse of discretion involves far more than a difference in * * * opinion. The term discretion itself involves the idea of choice, of an exercise of the will, of a determination made between competing considerations. In order to have an "abuse" in reaching such determination, the result must be so palpably and grossly violative of fact and logic that it evidences not the exercise of will but the perversity of will, not the exercise of judgment, but the defiance thereof, not the exercise of reason but rather of passion or bias.
Huffman v. Hair Surgeon, Inc. (1985), 19 Ohio St.3d 83, 87, quoting Statev. Jenkins (1984), 15 Ohio St.3d 164, 222. Absent an abuse of discretion, a reviewing court may not substitute its judgment for that of the trial court. Blakemore, 5 Ohio St.3d at 218. I would affirm.